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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                          Case No.: 1:21-cr-00609-APM-1

       v.

JEREMY BROWN.
_____________________________/

                     MOTION TO CONTINUE TRIAL DATE (UNOPPOSED)
                          (SUPPLEMENT FILED UNDER SEAL)

       COMES NOW Jeremy Brown, via undersigned counsel, and moves this Honorable Court to

vacate all defense Motion and Trial deadlines, vacate the Pre-trial scheduled for February 13th, 2024

and Jury Trial scheduled for March 4th, 2024 (Unopposed) to a date in the near future. Defense and

Government are in agreement that any and all defense motions, notices and responses (including

suppression and limine motions) be filed by March 1st, 2024 and a zoom Status Conference be held at

the Court’s convenience anytime after March 1st, 2024 and as grounds for the continuance states as

follows:

       1. Trial is scheduled in this matter for March 4th, 2024.

       2. The attached Supplement accompanying this Motion is filed under seal.

       3. Counsel has conferred with Jeremy Brown on the need for this continuance due to the

            information contained in the sealed Supplement.

       4. Counsel, pursuant to the Court’s January 19th, 2024 Minute Order, requests this continuance

            be granted and Jeremy Brown not be removed from Citrus Correctional on January 26th,

            2024 and remain at Citrus Correctional until further Order of the Court.

       5. No prejudice will come to Defense or Government with the granting of a continuance.

       6. The Government is unopposed to this continuance and to a reset of defense deadlines to

            March 1st, 2024.
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       7. Counsel for Jeremy Brown asserts this Motion to Continue and its Sealed Supplement is

           filed in good faith and not for any purpose of frustration or undue delay.


       WHEREFORE, Defendant respectfully requests this Honorable Court grant this Unopposed

Motion to Continue (Supplement under Seal), vacate all defense deadlines and reset to March 1st,

2024 , vacate the pre-trial and trial date to a future date, and schedule a zoom Status Conference at the

Court’s convenience for anytime after March 1st, 2024, and enter its Order accordingly.


                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Unopposed Motion to
Continue Trial (Supplement Under Seal) has been furnished via Electronic Filing to Louis Manzo,
AUSA, and Kathryn Racowzsky, AUSA, Office of the U.S. Attorney, District of Columbia, and all
other parties listed on this 22nd day of January, 2023.



                                                     /S/ Maria T. Rodriguez
                                                     ______________________________
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